Case 1:04-cr-10lOO-.]DT Document 24 Filed 06/06/05 Page 1 of 2 Page|D 24

FILED BY%DC
IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN ..5 _
EASTERN DIVIsIoN PH h 39
UNITED sTATEs 0F AMERICA, RO£>`§?TM D…ROLO
Piaintia‘ W' DO LEK FUT'S N%§LT CTO
3 m
vs. N0.04-10100-r
BARRY LAMAR lerE,

Defendant.

AMENDED ORDER CONTINUINQ REPQR.T DATE,
TRIAL AND EXCLUDING DELAY

The government has moved for a continuance of the report date in this case which is set for
June 7, 2005, and the trial Which is currently set on June 13, 2005 . Since counsel for the
government has oral argument scheduled before the Court oprpeals in Cincinnati on that date, that
motion is hereby granted.

The court finds that the unavailability of the government’s counsel and the government’s
need for continuity of counsel justify this continuance and the ends of justice served by the
continuance outweigh the best interests of the public and the defendant in a speedy trial.

Accordin l the trial is continued from June 13 2005 to Jul 6 2005 at 9:30 A.M The resulting

 

period of delay, from June 13, 2005, to July 6, 2005, is excluded pursuant to 18 U.S.C. §
3161(h)(8)(A). A new report date has been set for June 21, 2005, at 8:45 a.m.
IT IS SO ORDERED.

 

 

 

Thls document entered on the docket _sheet in compliance
with Ru!e 55 andfor 32{b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case l:04-CR-10100 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

M. Dianne Srnothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

